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                                 1257+(51',675,&72)2+,2
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       7KH &RXUW HDUOLHU UHTXHVWHG WKDW YDULRXV JURXSV LGHQWLI\ QHJRWLDWLQJ WHDPV WR GLVFXVV

VHWWOHPHQW7KHVHJURXSVDVNHGDQGUHFHLYHGSHUPLVVLRQWRQDPHPRUHWKDQVL[DWWRUQH\VHDFK7KH

&RXUWQRZFRQILUPVWKHQHJRWLDWLQJWHDPVZLOOEHFRPSRVHGDVVHWIRUWKEHORZDQGWKHVHWHDPVZLOO

ZRUNZLWKWKH6SHFLDO0DVWHUVDQGWKH&RXUWWRLGHQWLI\SRVVLEOHUHVROXWLRQVRIHFRQRPLFDQGQRQ

HFRQRPLFLVVXHVLQWKLVOLWLJDWLRQ7KH&RXUWUHVHUYHVWKHULJKWWRPRGLI\WKHFRPSRVLWLRQRIWKHVH

WHDPVDVGLVFXVVLRQVJRIRUZDUGDQGWKHVHWHDPVPD\DSSRLQW³VXSSRUWFRPPLWWHHV´WRDVVLVWZLWK

QHJRWLDWLRQVDVWKH\VHHILW

Plaintiffs
-RH5LFH                                               3DXO*HOOHU
3DXO+DQO\                                             &KULV6HHJHU
(OL]DEHWK&DEUDVHU                                     5XVVHOO%XGG
7UR\5DIIHUW\


Manufacturer-Defendants
6KHLOD/%LUQEDXP                                     0DUN)LOLS
6WHYHQ$5HHG                                         %ULHQ72¶&RQQRU
&KDUOHV&/LIODQG                                     -0DWWKHZ'RQRKXH
-RQDWKDQ/6WHUQ
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Distributor-Defendants
(QX0DLQLJL
*HRIIUH\+REDUW
-DFN6PLWK
5REHUW1LFKRODV


Attorneys General
        7KH$WWRUQH\V*HQHUDOIDOOLQWRWZRVXEJURXSVHDFKRIZKLFKDIILUPVWKH\ZLOOKDYHFHUWDLQ
LGHQWLILHGUHSUHVHQWDWLYHVZKRZLOOUHJXODUO\DWWHQGVHWWOHPHQWGLVFXVVLRQV7KHFRQWDFWVIRUHDFK
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       0XOWLVWDWH*URXS-HQQLIHU(3HDFRFN2IILFHRIWKH7HQQHVVHH6WDWH$WWRUQH\*HQHUDO
       /LWLJDWLRQ*URXS7DG5RELQVRQ2¶1HLOO2IILFHRIWKH:DVKLQJWRQ6WDWH$WWRUQH\*HQHUDO

Insurers
       7REHGHWHUPLQHGVRRQQRWLGHQWLILHGDWWKLVWLPH


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